         Case 1:14-cv-00779-PJG ECF No. 208 filed 08/11/17 PageID.4001 Page 1 of 3

AO     133   (Rcv. l2109) Bill of Costs



                                               UNrrpo Srarps Drsrrucr Counr
                                                                                  for the
                                                               Western District of Michigan
               DEBORAH          M       URPHY-DAVIDSON                                )
                                                                                      )
                                         V.                                           )       Case   No.: 14-cv-00779
                   KENNETH J. STOLL, et. al.
                                                                                      )
                                                                                      )

                                                                       BILL OF COSTS
Judgment having been entered in the above entitled action on                               07t17t2017           against Plaintiff
                                                                                              Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk

Fees   for service of sumrnons and subpoena                                                                                                              853.94

Fees   for printed or electrorrically recorded transcripts necessarily obtained for use in the case                                                     1,143.55

Fees and disbursements for printing

Fees   for wittresses    (itcmi:e on pugc ttro)                                                                                                         1,170.77

Feesfor exernplification and the costs of making copies of any rnaterials where the copies are
necessarily obtained for use in the case.                                                                                                               1,259.06

Docket fees under 28 U.S.C. 1923 .                .
                                                                                                                                                          20.00

Costs as shown on Mandate of Courl of Appeals

Cornpensation of court-appointed experts

Compeusatiouof interpleters andcosts of special interpretation servicesuuder'28 U.S,C. 1828 . . . .                        .




otrrer costs    (pteasa ircntize)   .   Cc:.u&(. 1QPElze2             . .c. .fr5.8.       € yfiCvftnoA/.                                                 300.00

                                                                                                                        TOTAL                           4,747.32

SPECIAL NOTE: Attach to your bill an iternization and documentation for requested costs in all categories.

                                                                              Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been chalged were actually and necessarily performed. A copy ol this bill has been served on all parlies
in the followins manner:

        V          EIecn'onic service
                                                                 f]      First class mail, postage prepaid

        T          Other:

             s/ Attomey
                                        ,{ha.un
For'                f(enneth J. Stoll, Comforcare Senior Services, Mid-Michigan, LLC                                           Date:        0811112017
                                                      Nanrc of Claitnirry Pur4,


                                                                        Taxation of Costs
Costs are taxed in the amount             of                                                                                    and included in the judgrnent.

                                                                        By,
                         Clerk of Court                                                           bepu4'Clerk                                    Dire
       Case 1:14-cv-00779-PJG ECF No. 208 filed 08/11/17 PageID.4002 Page 2 of 3
AO 133 (Rev. l2109) Bill of Costs


                                      Uxnpn Srarps DrsrRrcr                                         CoURT
                                     Witness Fees (computation, cf.28 U.S.C.            l82l for statutory    fees)

                                                                      ATTENDANCE                                  MILEAGE
                                                                                                                                         Total Cost
              NAME. CITY AND STATE OF     RES]DET.VCE                           Total                                     Total         Each Witness
                                                                      Davs       Cost                          Mil.<         Cncf

Mary England
Lakeview, Michigan                                                             80.00            z    14.00        192    101.76                $195.76

Ray Wireman
Stanton, Michigan                                                          z   80.00            z   14.00         204 109.14                   $203.1 4

Samantha Wright
Stanton, Michigan                                                          2   80.00            z   14.00         204    109.14                $203.1 4

Linda Bunker
Stanton, Michigan                                                              40.00            1   7.00          102     54.06                $101.06

Michael Umphrey
Lakeview, Michigan                                                         2   80.00            z   14.00         tJz    101 .76               $195.76

Stephanie Jollands
Stanton, Michlgan                                                          1   40.00            1   7.00          102    54.06                 $101.06


                                                                                                                       TOTAL                   $999.92


                                                                       NOTICE

  Section 1924,Title 28, U.S. Code (ettective September 1,1948) provides:
  "Sec. 1924. Verification ofbill ofcosts."
      "Before any bill ofcosts is taxed, the parfy clainring any itenr ofcost or disbulsement shall attach thereto an affidavit, made by himselfor by
  his duly attthorized attorney or agent having knowledge ofthe facts, that such item is correct and has been necessarily incurred in the case and
  that the services lbr which fees have been charged were actually and necessarily perfonned."

  See also Section l 920 of  Title 28, which reads in part as follows:
      "A bill ofcosts shall be filed in the case and, upon allowance, included in thejudgment or decree."

  The Federal Rules of Civil Procedure contain the lbllowing provisions:
  RULE s4(dxl)
  Costs Other than Attomeys' Fees.
      Unless a federal statute, these rules. or a coLu't order provides otherwise, costs        other than attorney's f'ees    should be allowed to the
                                                                                          -                              -
  prevailirrg party. But costs against the United States, its officcrs, arrd its agencies nray be irnposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On nrotion served within the next 7 days. the court rnay review the clerk's action.

  RULE    6

  (d) Additional Tirne After Certain Kinds of Service.

       When a party lnay or rrust act within a specified tirne aftel service and service is made under Rule5(bX2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).

  RULE 58(c)
  Cost or Fee Awards:

        Ordinarily, the entry ofjudgrnent may not be delayed, nor ttre time for appeal extended, in order to tax costs or award fees. But if a
  tirnely rnotion for attomey's fees is made under Rule 54(dX2), the coun lnay act before a notice 0f appeal has been filed and becorne
  effective to older that the motion have the same effect undel Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
        Case 1:14-cv-00779-PJG ECF No. 208 filed 08/11/17 PageID.4003 Page 3 of 3
AO I33 (Rev. l2l09) Bill of   Costs



                                      Umrsn Srarps Drsrrucr                                         CoURT
                                      Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)

                                                                     ATTENDANCE                                  MILEAGE
                                                                                          ftlAlrry6                                     Total Cost
             NAME. CITY AND STATE OF RES]DENCE                                  Total                Total               Total         Each Witness
                                                                     Davs       Cost       Davs      Cost       Milcs    Cost

Emma Manners
Vestaburg, Michigan                                                       1    40.00            1   7.00                70.49                 $1 17.4e


Lawrence W. Schenden, M.D.
East Grand Rapids, Michigan                                               1    40.00            1   7.00           tz   6.36                   $5s.36



                                                                                                                                                $o.oo



                                                                                                                                                $0.00



                                                                                                                                                $o.oo



                                                                                                                                                $o.oo


                                                                                                                    TOTAL                     $170.85


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (ell'ective Septemtrer I,1948) provides:
  "Sec. 1924. Verification ofbill ofcosts."
       "Before any bill ofcosts is taxed, the party clainring any item ofcost or disbursement shall attach thereto an affidavit, made by hirnselfor by
  his duly authorized attorney or agent having knowledge ofthe facts, that suclr item is correct and has been necessarily incurred in the case and
  that the services fbr which f'ees have been charged were actually and necessarily perforrned."

  See alsoSection 1920 of Title 28, which reads in part as follows:
      "A bill of costs shall be filed in the case and, upon allowance, included in   the judgment or decree."

  The Federal Rules of Civil Procedure contain the lbllowing provisions:
  RULE s4(dx1)
  Costs Othel than Attomeys' Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs       other than attorney's fees      should be allowed to the
                                                                                           -                            -
  prevailing party. But costs against the United States, its of ficels. and its agencies may be in-rposed only to the extent allowed by law. The clerk
  may tax costs on l4 day's notice. On nrotion served within the next 7 days, the court rr.ray review the clerk's action.

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  (d) Additional Tirne Afler Certain Kinds of Service.

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  RULE 58(e)
  Cost or Fee Awards:

        Ordinarily, the entry ofjudgrnent rray not be delayed. nor the tilne for appeal extended, in order to tax costs or award fees. But if a
  tiurely rnotion for attomey's fees is rnade under Rule 54(dX2), the c0ul1 may act before a notice of appeal has been filed and become
  effective to oldel that the motion have the same eff'ect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
